     Case 3:18-cv-02862-M              Document 242       Filed 11/06/24          Page 1 of 3   PageID 7049


                       UNITED STATES DISTRICT COURT
                                                     for the
                                            Northern District of Texas


                    BERTRUM JEAN et al.                                   )
                                                                          )
                           Plaintiff                                      )
                                                                          )
                              v.                                          )      Civil Action No. 3:18-cv-02862-M
                                                                          )
                                                                          )
                     AMBER GUYGER
                                                                          )
                                                                          )
                          Defendant


                                          AFFIDAVIT OF SERVICE


I, Michael Grandchampt, state:

I am not a party to or interested in the outcome of this suit.

I received the following documents on October 31, 2024, at 9:51 am. I delivered these documents to Officer
Keenan Blair in Dallas County, TX on November 2, 2024 at 11:38 am at 1400 Botham Jean Blvd, Dallas,
TX 75215 by personal service by handing the following documents to an individual identified as Officer
Keenan Blair.

SUBPOENA TO APPEAR AND TESTIFY AT A HEARING OR TRIAL IN A CIVIL ACTION
Cover Sheet
and Witness Fee Check in the amount of $40.00

Black or African American Male, est. age 25-34, glasses: N, Unknown hair, 160 lbs to 180 lbs, 6' to 6' 3".
Geolocation of Serve: https://google.com/maps?q=32.7671371,-96.7940845
Photograph: See Exhibit 1

Total Cost: $372.00

My name is Michael Grandchampt, my date of birth is                     , and my address is 1607 Jupiter Ln, Ennis,
TX 75119, and USA.

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.




Proof Job #718662                         Bertrum Jean et al., v. Amber Guyger                                Page 1
     Case 3:18-cv-02862-M       Document 242       Filed 11/06/24         Page 2 of 3   PageID 7050

                                                     /s/ Michael Grandchampt
Executed in
                                                     Michael Grandchampt
   Dallas County                               ,     +1 (972) 741-4937
   TX         on    11/4/2024            .           Certification Number: PSC-20514
                                                     Expiration Date: 10/31/2025




Proof Job #718662                  Bertrum Jean et al., v. Amber Guyger                           Page 2
     Case 3:18-cv-02862-M   Document 242       Filed 11/06/24         Page 3 of 3   PageID 7051




Proof Job #718662              Bertrum Jean et al., v. Amber Guyger                           Page 3
